     Case 1:22-cv-01066-SOH Document 3              Filed 11/23/22 Page 1 of 1 PageID #: 15




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

TEVIN D. MAXWELL,                                                                         PLAINTIFF

v.                                    4:22CV01130-KGB-JTK

DOES                                                                                  DEFENDANTS

                                               ORDER

        Tevin D. Maxwell (“Plaintiff”) filed a pro se Complaint pursuant to 42 U.S.C. § 1983

against Doe Defendants at the Columbia County Jail.         (Doc. No. 2).    Columbia County lies in

the Western District of Arkansas.

        Because of the Defendants named and allegations made, the Court finds that the interests

of justice would be best served by transferring this case to the United States District Court for the

Western District of Arkansas. See 28 U.S.C. § 1406(a). 1

        The Clerk of the Court is directed to immediately TRANSFER PLAINTIFF’S ENTIRE

CASE FILE to the Western District of Arkansas.

            IT IS SO ORDERED this 23rd day of November, 2022.



                                                       _________________________________
                                                       JEROME T. KEARNEY
                                                       UNITED STATES MAGISTRATE JUDGE




        1
           “The district court of a district in which is filed a case laying venue in the wrong division
or district shall dismiss, or if it be in the interest of justice, transfer such case to any district or
division in which it could have been brought.” Id.
